             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
           CRIMINAL CASE NO. 1:12-cr-00020-MR-DLH-7


UNITED STATES OF AMERICA, )
                            )
              Plaintiff,    )
                            )
     vs.                    )                  ORDER
                            )
AARON OLLIS,                )
                            )
              Defendant.    )
___________________________ )

     THIS MATTER is before the Court upon the Defendant’s Motion for

Early Termination of Probation [Doc. 477].

     On September 24, 2013, the Defendant pleaded guilty pursuant to a

written plea agreement to one count of conspiracy to defraud the United

States, in violation of 18 U.S.C. § 371. The Defendant was sentenced on

June 2, 2015, to a term of two years’ probation and was ordered to pay

restitution in the amount of $10,199,106.87. [Judgment, Doc. 403].

     The Defendant now moves the Court to exercise its discretion and

terminate his term of probation. [Doc. 99]. While noting that he has only

eight more months of supervision, the Defendant requests an early

termination of his probation so that he can register to vote in the upcoming




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presidential and gubernatorial elections. [Id.]. The Government declines to

take any position on the Defendant’s motion.

     In order to terminate a defendant’s term of probation, the Court must

be “satisfied that such action is warranted by the conduct of the defendant

and the interest of justice.” 18 U.S.C. § 3564(c). Upon careful consideration

of the record, the Court is not satisfied that termination of the Defendant’s

term of probation is warranted.       The Defendant still has a significant

outstanding restitution obligation, to which only minimal payments have been

made. Accordingly, the Court declines to exercise its discretion to terminate

the Defendant’s term of supervised release at this time.

     Accordingly, IT IS, THEREFORE, ORDERED that the Defendant’s

Motion for Early Termination of Probation [Doc. 477] is DENIED.                 The

Defendant’s term of probation shall continue as originally sentenced.

     The Clerk is directed to serve a copy of this Order on the Defendant,

counsel for the Government, and the United States Probation Office.

     IT IS SO ORDERED.            Signed: October 24, 2016




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